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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO
                                   SOUTHERN DIVISION

 PLANNED PARENTHOOD GREAT
 NORTHWEST, HAWAII, ALASKA, INDIANA,
 KENTUCKY, on behalf of itself, its staff, physicians
 and patients, CAITLIN GUSTAFSON, M.D., on
 behalf of herself and her patients, and DARIN L.
 WEYHRICH, M.D., on behalf of himself and his
 patients,
                Plaintiffs,                                  Case No. 1:23-cv-142
         v.
                                                             MOTION FOR
 RAÚL LABRADOR, in his official capacity as                  TEMPORARY
 Attorney General of the State of Idaho; MEMBERS             RESTRAINING ORDER
 OF THE IDAHO STATE BOARD OF MEDICINE                        AND PRELIMINARY
 and IDAHO STATE BOARD OF NURSING, in their                  INJUNCTION
 official capacities, COUNTY PROSECUTING
 ATTORNEYS, in their official capacities,

               Defendants.
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     MOTION FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY
                           INJUNCTION

       Under Federal Rule of Civil Procedure 65, Plaintiffs Planned Parenthood Great Northwest,

Hawaii, Alaska, Indiana, Kentucky (“Planned Parenthood”), and Darin L. Weyhrich, M.D.,

respectfully move for a temporary restraining order and preliminary injunction against Raúl

Labrador in his official capacity as Attorney General of the State of Idaho, County Prosecuting

Attorneys (“County Prosecuting Attorneys”) in the following Idaho counties Ada, Adams,

Bannock, Bear Lake, Benewah, Bingham, Blaine, Boise, Bonner, Bonneville, Boundary, Butte,

Camas, Canyon, Caribou, Cassia, Clark, Clearwater, Custer, Elmore, Franklin, Fremont, Gem,

Gooding, Idaho, Jefferson, Jerome, Kootenai, Latah, Lemhi, Lewis, Lincoln, Madison, Minidoka,

Nez Perce, Oneida, Owyhee, Payette, Power, Shoshone, Teton, Twin Falls, Valley, and

Washington, named in their official capacities, and the members of the Idaho State Board of

Medicine, and the Idaho State Board of Nursing, named in their official capacities, to prohibit

enforcement of Idaho Code § 18-622(2) as interpreted by Attorney General Labrador. Plaintiffs’

arguments in support of this motion are fully set forth in the attached memorandum of law and

supporting declarations.




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                                                2
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 5, 2023, I filed the foregoing electronically though

the CM/ECF system, which caused the following parties or counsel to be served by electronic

means, as more fully reflected on the Notice of Electronic Filing:

       Not Applicable (no defendant has yet appeared)

       And I FURTHER CERTIFY that on such date I served the foregoing on the following

non-CM/ECF registered participants via U.S. first class mail, postage prepaid addressed as

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